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1 ) (List the names of all the plaintiffs
Pn`son ld. No. ) filing this lawsuit Do not use “et
) al.” Attach additional sheets if
Name ) necessary.
)
Prison ld. No. ) Civil Action No.
) (To be assigned by the Clerlc’s §
Plaiutiff(s) ) ofEce. Do not Write in this sp ace.)
)
) v _
) .lul'y 'I`rial S/és l:l No
V`§oullw&%\l ?;'<I. '/l>a;<lmezzs v )) `
?\:…r‘/ )
ll F\ h l CPUSS El l m Name ) (List the names of all defendants
(\' \'_ -l-. ) against Whom you are filing this
/RDBERl'$o n 0 DE l'E:Y‘ \ON Name ) lawsuit Do not use “et al.” Attach
) additional sheets if necessary.
)

Defendant(s)

COl\/lPLAlNT FOR VlOLATION OF ClVlL RIGHTS
FILED PURSUANT TO 42 U.S.C. § 1983

l. PREVIOUS LAWSUITS (The following information must be provided by each plaintlf_f )
l-lave you or any of the other plaintiffs in this lawsuit filed any other lawsuits in the

A.
Uruted States Distrlct Court for the Middle District of Tennessee, or m any other federal
or state court?

[l Yes §§

lt you checked the box marked “Yes” above, provide the following information

 

 

 

B.
l. Parties to the previous lawsuit:
Plaintiffs l F/A
f
Defendants 7 [/

 

Case 3'12-cV-OO401 Document 1 Filed 04/23/12 Page 1 of 15 Page|D #: 1
1

ln what court did you nle the previous lawsuit? /\//jA`

(lf you filed the lawsuit in federal court, provide the name of the Distiict. If you
iled the lawsuit in state court, provide the name of the state and the county.

3. What was the case number of the previous lawsuit? l\l /A _
What was the ludge’s name to whom the case was assigned? N[A

5 . When did you file the previous lawsuit? /\/[ /`\‘ (Provide the year, if

you do not know the exact date.) _

6 . What was the result of the previous laws?it? F or example, was the case dismissed,

appealed, or still pending?

l 7. vWhen was the previous lawsuit decided by the court? /\l Z il (Provide

the year, if you do not know the exact date.)
Did the circumstances of the prior lawsuit involve the same facts or circumstances
that you are alleging in this lawsuit .

El Yes ` No
(If you have filed more than one prior lawsuit, list the additional lawsuit(s) on
a separate sheet ofpap er, and provide the same information for the additional
_ lawsuit(s).)
T_FlE PLAJNTIFF’S CURRENT-PLACE OF CONFB\lEl\/LENT (The following information
must be provided by each plaintiff.)

A. What is the name and address of the prison or jail in which you are currently
incarcerated? ROBER+SQ¢\ CO- `:DE+E\'\\"\DF\ CL~; hi'E R ,

ll

facts of your lawsuit related to your present confinement?

B. y
Yes l:l No

C. lf you checked the box marked “No” in question lI.B above, provide the name and
address of the prison or jail to which the facts of this lawsuit pertain

N/a
f

Do the facts of your lawsuit relate to your confinement in a Tennessee State Prison?

13 rYes 131/§

7 lf you checked the box marked “No,” proceed to question ll.H.
Case 3:12-cV-OO401 Document 1 Filed 04/23/12 Page 2 of 15 Page|D #: 2
2

E. lfyou checked the box marked “Yes” in question H.D above, have you presented these
facts to the prison authorities through the state grievance procedure?

 

 

 

 

l:l Yes v m No
F. If you checked the box marked “Yes” in question ll.E above:
l. What steps did you take?
2. What was the response of prison authorities?
G. lf you checked the box marked “No” in question lI.E above, explain why not.

 

H. Do the facts of your lawsuit pertain to your confinement in a detention facility operated
by city- or county law enforcement agencies (for example, city or county j ail, Workhous e,

etc.)?

res n NO"

I. lf you checked the box marked “Yes” in question l_[.H above, have you presented these
facts to the`authorities who operate the detention facility?

U/Yes 13 No

If you checked the box marked “Yes” in question ll.l above:

l:'ile<l GRiEv/Jmce,

1. what gaps aid you ar@?

as the response of the auth raties who run the detention facility?

2. V»?a t w q
dear ev mae attacks /
L. lf you checked the box marked “No” in question ll.l above, explain why not. N¢AF

`Attach copies of all grievance related materials including, at a minimum, a copy of the
grievance you filed on each issue raised in this complaint, the pris on’s orjail’s response to that
grievance, and the result of any appeal you took from an initial denial of your grievance.

lll PARTIES TO THIS LAWSUIT

         

A. Plaintiff(s) bringing this lawsuit:
l. Na.rne of the first plaintiff:

      

     
 
 
   

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Prison ld. No. of the first plaintiff:

Case 3:12-cV-OO401 Document 1 Filed 04/23/12 Page 3 of 15 Page|D #: 3
3 _

 

Sou:the.rn Heafl:h /'
_Partrrers

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lN|V|ATE MED|CAL SERV|CES GR\EVANCE FORN\ l

This form is to be utilized by the inmate in filing a grievance against the medical statt and/or medical treatment received or not
received lt the matter is not appropriate for a medical services grievance a copy of this form will be returned to you marked NO
ACTlON REQU|R`ED. Once this form has been appropriately completed, please forward it to the medical staff through the correct
channelsl The medical staff will review all grievances, and take appropriate action to remedy the grievance A copy will be given
to the Jail Administrator so they are aware`of the process and response as Well.

Facility Narne/State P§P)L§lzi§@r\ Ct)-. D€l'(’,r’ll'l Ol’l CE\’\l`E la 1

lnmate’s l\lame: [`\Yll’llon\»t lY\ bli\§ Cel| No./l_ocation: Gl'l v
lD # and/or S.S.#: d

 

Today’ s Date: 1113 1'

 

Description of Grievance:

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or-'\ msi Hr\l’\le , D/L r”f Shee. wild 5€>1’1'\{ i<l‘al€ Glf ler?~ClW lO l“l€.Tvl
at ismael ~.mpe<a~ when 1 ware giles-baer marital away '

inmate Signature: MWGW ll\ QQ..@J~AV Date'. g ‘ 3 '“' l Q~

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.:l:l\tl_:_' \'\\F\*Ll 3 SU\RS\€RiCS O{\ ~l-‘\-\'l 5 med\€f\\ Cdv\d,\+ic»‘l'\.~

TO BE CON|PLETED B`r’ MEDlCAl_ STAFF ONLY: Date Received Grlevance:
Recelved by l\/ledical Statl Name:

 

 

Action to be taken. Document appropriatelyl If no action needed, why?

 
   

out ' ` ‘ ' " . '
hire n.to halt 7101/c tit §jl»‘§ rycv“~ nev wrenn/rsr Wr/r\l'g _

w lledical Stafl: l\/lake 2 copies of the completed torm. Keep the original rn a tolder' 1n the m`xdical othce- lageled` ‘l\/ledical

Services Grievances". Do NOT put grievances in the medical chart Give a copy to the Jal| Administrator tor their records. C,§Q'/L/(
eturn the other copy to the inmate it security allows. Othen/vise you can verbalize response to the inmatel documenting

's ch on the original Mtormi. and then place hat original form 1your l\/led` ca a|SewiZezjgeM vance ti|ep W

g;|l=\tNMAl lG D|CAL RESPONSE T ORIG|NAL lNMATE GR|EVANCE FORM: The inmate must respond on this Origina| torm by completed
his/her reasons for disagreeing With the medical services response Once completed, please forward it to the medical stall through the correct channels

 

 

 

 

 

   
 
  

 

 

 

 

inmate Signature: Date:

Case 3:12-cv-OO401 Document 1 Filed 04/23/12 Page 4"01c 15 Page|D #: 4

" l lnrnate’s l\lame; £lj‘(\`i[l¢\(y¢\rj\ Uw\ QQJ\U

'~ ` Cell No.lLocation: /6;`-,\"_ ' , lD # and/or S.VS.#Z

 

inmate carevm\rce rossi

7 This.tonn is to be utilized by the inmate in ming a grievance againstthe medical stalt andr'or medical treatment received or

not received lt the matter is not appropriate for a grievance this lorm will be returned to you marked NO ACTlOl\l
REQU|RED. Once this form has been appropriately completed please torv ard it to the medical staff through the correct
channels The medical staff will re riew all grievances and take appropriate action to remedy the grievance

Today’sDate: 1 67”" 19' Facility Nam€. 31 C, D (:5

 

Description of C-rievance:

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»C,Ay§lr mem er Flrrt 1555 »SRaew`rzl.tioc'aa¢h._

 

 

 

 

 

 

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inmate Signature: ml m Q»QéL/l

TO BE COFY¥PLETED BY MEDlCAL STAFF'

Date Received Grievance:`£_l__________ Q lB` Received byJW ()pU/l l ill H'

6 Action to be taken: lt no action needed, why?

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Please forward copy 01 this" brievance Forrn to the in ate, il secunt;' a 0 ‘ -O terwise 5v`efha lee 1310 to be en, etc d
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Case 3:12-cv-OO401 Docoment 1 Filed 04/23/12 Page 5 of 15 Page|D #: 5

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lNMATE GR\EL!ANCE FQR`M

This form is to be utilized by the inmate in frting a grievance against the medical staif and/or medical treatment received or

not received lt the matter is not appropriate ior a grievance this iorrn will be returned to you marked NO ACTtON

RECtUlRED. Once this form has been appropriately completed, please forward it to the medical stah' through the correct -
’ channels Themedical start will review all grievances and ‘alre appropriate action to remedy the grievance

 

 

 

. 6T0day s Date: Ll q" la 6 v Facility l\larne:- 62 C D 69;
_ lnmate's Name; O;/t'\*klmvw\ N\ waco
C_ell NojLocation:Q _v L 6 - lD # andlor S.S.#:

 

Description of Grievance: .
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_ inmate Signature: G/¥\MW)\LJ W\ €M.J

TO §§ CON‘.PLETED BY MED|CAL STAFF'

Date Rec_e.ived Grievance: l?/__g`[ 3 Received by: '

 

 

 

 

 

 

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Case 3:12-cV-OO401 Docoment 1 Filed 04/23/12 Page 6 of 15 Page|D #: 6

Robertson Co_uniy D'etention Center

lumate Grievanee Form

Date: 11”5"_ 191

Complaint: Dr\ 11 11 191 DR 11\1111111\€1115 1111111:11115@1;1 1111/1631 };»11
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Suggested Solution
To

Complaint: 10 \.-\1°11~@1‘\ mec\\q_¢\\ §}1¢(> 11111;11\ 1411 14112€1\ UA
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’WA¥ 1`@1.1\11 Do<§]@)e 1111115€1/1` 1`§

 

 

 

 

 

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S\\n~es 1 1\€€1§1
Inmate Name: § M mW\1 €,QO¢A
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v

lNMATE MED|CAL SERV|CES GR|EVANCE FORN|

This form is to be utilized by the inmate in tiling a grievance against the medical staff and/or medical treatment received or not
received. if the matter is not appropriate fora medical services grievance, a copy of this form will be returned to you 'marked NO '
ACTlON REQU|RED. Once this form has been appropriately completed, please forward it to the medical staff through the correct

channels The medical staff will review all grievances, and take appropriate action to remedy the grievance A copy will be given
to the Jail Administrator so they are aware of the process and response as well.

Today's Date; w Li'B”/Qy Facility Name/State: Rd'BEIZ`i' in Co ;i zfji’§r’li"i Di’i Ctih i E }z 1
lnmate’s Name: {~ir’l‘i'i`_\on\e§ m (c;i i \5 v Cel| No./Location: @~l v l

|D # and/or S. S .:#

 

Description of Grievance:

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or’\ (Y\\-i Pd\i'\i~€ , @{L PFSime wit)io SQFY\£ “i<l»a'€ oli' lq'i?£i’l iO i:i&irL
P\BSQR.@/ impAC`i"' Wi\€f\ \ \.L'V\\i’\ CRE'LV\€S\’ m?c:l.`\f_l\i S\'\o€$)

inmate Signature: M"\)O °l{i'\ Q_O_QLA) Date:'i;i' 3 "'i 9-

****H****HH**HH**H*+#*H***H#*** * Hi"hl'i'***kk*t**i**i'*i"¢-**i'i'imi-§*fiiri'H*******H*H*H*****M*H****H****H*;H*****ir**'k‘k*

.I"\s E' \A.va ct at Sm?j~`eflz"~.e_s Or\ tim a 't'h_edj\c;»\t ca &`Iii~san .-'
TO BE CON\PLETED BY MED|CAL STAFF ONLY: Date Received Grievance:
Received by Nledical Staff Name:

 

 

 

 

 

 

 

 

Action to be taken. Document appropriately. lf no action needed, why?

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era nd%?mu€g* §§

 

 

 

 

 
 

 

 

w dica| Staff: Make 2 copies of the completed fonn. Keep the original' in a folder in the me` -
` Services Grievances". Do NOT put grievances in the medical chart Give a copy to the Jail Administrator for their records. L,§Q/L/L
‘ etum the other copy to the inmate if security allows. Otherwise you can verbalize response to the inmate, documenting

W s ch on the original form and then place at original ufcw-- your Med cal Services neva€ie tile. 70-[-@(/€§} }[/
€/% lllllllll ll lll Ill llll;lf'd:?_

QW" |F NM§;;§ ?\JN¥NCAL!\-L RESPONSE T ORlGlNAL lNMATE GRlEVANCE FORM: The inmate must respond on this original form by completed
his/her reasons for disagreeing with the medical services response Once completed please forward it to the medical staff through the correct channels

 

 

 

 

inmate Signature: Dale:

Case 3:12-cv-OO401 Document 1 Filed 04/23/12 Page 8 of 15 Page|D #: 8

Roi;re:rtsent’“ canty ila re ca €:erri;e§‘

lmmate Grievence Fo‘rm

Date:Li’§'.F igv
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Suggested Solution

 

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lnmate Name:‘m()y;u\) ii\/\ 900/th

( H needed use back side of form)

Case 3:12-cv-OO401 Document 1 Filed 04/23/12 Page 9 of 15 Page|D #: 9

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informai Comp§aint form

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lnmate Name: l f §[i§ §\_&)Q)< \N\ (;Q,O/\A `
Responding OfE¢Z<j/]{i/ AJ/ z£&» Da'f€ L/““/Q '7/€`;`1`

(If needed use back side of form)

Case 3:12-cv-OO401 Document 1 Filed 04/23/12 Page 10 of 15 Page|D #: 10

 

 

 

'r~",;», ' 1 , _
- (Inclnde the name of the institution and mailing address, including Zip code.
Ifyou change your address you must notify the Court immediately.)

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Pn`son ld. N o of the second plaintiff: h
+
Address of the second plaintiff: 3 l l 5 Q\/ E E¥Ct§`i/

801211»¢\15~@|4'17\137)79\
(Include the name ofthe institution and mailing address, including Zip code.

If you change your address you must notify the Court immediately)

 

If there are more than two plaintiffs, list their names, prison identiiication
numbers, and addresses _on a separate sheet of pap er.

Defendant(s) against Whom this lawsuit is being brought

1. Neeee efehe feet defeeeeee deatAéau //g/) /M 1942 151;§/25//% d D C glove
Pl§e of emplo ent ofthe first defendant 3// 546 /QU'Z /E/)S 7£

012/fw F)c/ 37/71¥'

B.

The EIst defendants address:

flst UNO

Named in ofdcial capacity?
es U No

Named in individual capacity”

 

2. Name of the second defendant

 

Place of employment of the second defendant

 

The second defendants address:

5 Yes l:l NO

Named in oEcial capacity? v
5 Yes [l NO

Named in individual capacity”
If there are more than two defendants against Whom you are bringing thls
lawsuit you must list on a separate sheet ofpap er the name of each additional
defendant their place of employment their address, and the capacityinwhich
you are suing them. If you do not provide the names of such additional

defendants, they Will`not be included in your lawsuit Ifyou do not provide
their proper name, place of employment and address, the Clerk Will be

unable to serve them should process issue.

Case 3 12 cV-OO401 Document 1 Filed 04/23/12 Page 11 of 15 Page|D #: 11
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IV. STATEMENT Oli` FACTS

State the relevant facts of your case as briefly as possible include the dates When the incidents
or events occurred, Where there they occurred, and how each defendant Was involved Be sure
to include the names of other persons involved and the dates and places of their involvement

if you set forth more than one claim, number each claim separately and set forth each claim in
a separate paragraph A'ttach additional sheets, if necessary. Use 8 l/z in. X l l in. paper. Write

on one side only, and leave a l in. margin on all four 4 sides.

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Vl. CERTIFICATION
l (We) certify under the penalty of perjury that the foregoing complaint is true to the best of my (our)

information, knowledge and belief v /
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Signature:

 

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_ ALL PLA]NT]`FFS lVfUST SIGN AND DA'I`E TBE COM]?LAINT, and provide the
information listed above. If there are more than two plaintiffs, attach a separate sheet of

paper With their signatures, dates, prison identification numbers, and addresses

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Case 3:12-cv-OO401 Document 1 Filed 04/23/12 Page 13 of 15 Page|D #: 13
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Case 3:12-0\/- -00401 Document 1 Filed 04/23/12 Page 14 of 15 Pa e|ED #: 14

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